        Case 1:21-cr-00107-RDM Document 217 Filed 11/16/22 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



   UNITED STATES OF AMERICA

                                                  Criminal Action No. 21-00107 (RDM)
                 v.

   BRUNO JOSEPH CUA


      NOTICE OF FILING OF DECLARATION OF THIRD-PARTY CUSTODIAN

       Bruno Joseph Cua, through undersigned counsel, hereby submits the following notice of

the filing of a declaration from his third-party custodian for the week of November 7 through 14,

2022. Pursuant to this Court’s March 10, 2021 Memorandum Opinion and Order (ECF No. 25),

April 12, 2021 Order (ECF No. 35), July 9, 2021 Order (ECF No. 54), August 23, 2021 Minute

Order, November 23, 2021 Minute Order, and May 5, 2022 Minute Order, Mr. Cua attaches to

this notice a declaration of third-party custodian Joseph Cua attesting that Mr. Cua has complied

with the conditions of pre-trial release imposed by this Court for the period of November 7

through 14, 2022.
       Case 1:21-cr-00107-RDM Document 217 Filed 11/16/22 Page 2 of 3




                                         Respectfully submitted,

DATED: November 16, 2022                 /s/ William E. Zapf
                                         Jonathan Jeffress (D.C. Bar No. 479074)
                                         William E. Zapf (D.C. Bar No. 987213)
                                         KaiserDillon PLLC
                                         1099 14th Street NW
                                         8th Floor West
                                         Washington, DC 20005
                                         T: (202) 640-2850
                                         F: (202) 280-1034
                                         jjeffress@kaiserdillon.com
                                         wzapf@kaiserdillon.com

                                         Attorneys for Bruno Joseph Cua




                                     2
        Case 1:21-cr-00107-RDM Document 217 Filed 11/16/22 Page 3 of 3




                               CERTIFICATE OF SERVICE
       I hereby certify that on this 16th day of November 2022, I filed the foregoing with the

Clerk of the United States District Court for the District of Columbia by using the CM/ECF

system, which system I understand has provided electronic notice counsel of record.



Dated: November 16, 2022                    /s/ William E. Zapf
                                            William E. Zapf
